EXHIBITB
                                                                                          Delivery Service Invoice
                                                                                          Invoice date       Ap(il 4, 2015
                         Shipped from:                                                    Invoice number     00008A503W145
                         MURPHY, HESSE, TOOMEY & LEHANE                                   Shipper number     8A503W
                         300 CROWN COLONY DR
                         QUINCY, MA 02169-0904                                            Control ID         ****
                                                                                          Page 1 of 5




                                                                                                                  Sign up for electronic billing today!
                                                                                                                  Visit ups.com/billing
                          0736A00008A503W6
                                                                                                                  For questions about your Invoice, call:
                                                                                                                    (800) 811-1648
                                                                                                                    Monday - Friday
                                                                                                                    8:00 a.m. - 9:00 p.m. E.T.
                          MURPHY, HESSE, TOOMEY & LEHANE
                          300 CROWN COLONY DR. STE 410                                                            or write:
                          QUINCY, MA 02169-0904                                                                      UPS
                                                                                                                     P.O. Box 7247-0244
                                                                                                                     Philadelphia, PA 19170-0001



                                                                                      Thank you for using UPS.
Incentive Savings                                                                     Summary of Charges
Total Incentive savings this period                             $ 109.38              Page                                                    Charge
Your amount due this period includes these savings.                                           Outbound
See Incentive summary section for details.                                              4      UPS CampusShip                                 $ 166.41
Account Status Summary                                                                  5     Service Charges                                    $ 0.00
Weekly Payment Plan                                                                   Amount due this period                                 $ 166.41
Amount Due This Period                                           $ 166.41
Amount Outstanding (prior Invoices)                              $ 374.58             UPS payment terms require payment of this Invoice by April 15,
Total Amount Outstanding                                         $ 540.99
                                                                                      2015.
Please include the Return Portion of each outstanding           invoice with
your payment. See Account Status for details.                                         Payments received late are subject to a late payment fee of 6% of
                                                                                      the Amount Due This Period. (see Tariff/Terms and Conditions of
Questions about your charges?                                                         Service at ups.com for details)
To get a better understanding of the charges on your invoice,
visit our invoice guide and glossary of billing charges at                            Note: This invoice may contain a fuel surcharge as described at
                                                                                      ups.com. The published fuel surcharge is 5.5% for UPS Ground
ups.com/invoiceguide.                                                                 Services and 3.5% for UPS Air Services, UPS 3 Day Select, and
                                                                                      International services. For more information, visit ups.com.




     ("---,.                Please tear off and send with your payment in the enclosed envelope. D~ not use staples .or paper clips.
     JI                Return Portion                                                                    Invoice Date   April 4, 2015
     \             ,                                                                                     Invoice Number 00008A503W145
          '                                                                                              Shipper Number 8A503W
              MURPHY, HESSE, TOOMEY & LEHANE
              300 CROWN COLONY DR. STE 410                                                               Amount due this period              $ 166.41
              QUINCY, MA 02169-0904                                                                      Amount enclosed




              r,  If this billing address Is incorrect, mark an "X" in this box and
              L;J make the appropriate changes above.
                                                                                         UPS
                                                                                         P.O.BOX 7247-0244
                                                                                         PHILADELPHIA, PA 19170-0001


                                                                       8A503W 6 040415 0736 1 00000166410 6
                                                                        Delivery Service Invoice
                                                                        Invoice date   April 4, 2015
                                                                        Invoice number 00008A503W145
                                                                        Shipper number 8A503W

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                                                                    Incentives
Incentives                                                          Outbound
Outbound
                                                                    Service                      Date                Incentive Plan
Service                      Date                Incentive Plan                                               Published     Incentive
                                          Published     Incentive          Incentive Level          Count      Charges         Credit
       Incentive Level          Count      Charges         credit   2nd Day Air Residential Package
Next Day Air Commercial Letter                                                                 04/04/2015                   LXVS330
                          03/28/2015                   KWHY584      Electronic Processed Tier           1          18.70       -5.61
Electronic Processed Tier           1          21.15        -8.46   Tier incentive based on an average weekly revenue of
Tier incentive based on an average weekly revenue of                 $210.26 for W/E: 11/08/2014 -W/E: 03/28/2015.
$202.15 for W/E: 11/08/2014 - W/E: 03/21/2015.                      Total Outbound                                            -98.08
Fuel Surcharge
                             04/04/2015                             Incentives
                                                            -3.33   Service Charges

Next Day Air Commercial Package
                                                                    Service                      Date                Incentive Plan
                                                                                                              Published     Incentive
                          03/28/2015                   KWHY583             Incentive Level          Count      Charges         Credit
Electronic Processed Tier           1          25.50     -10.20
Tier incentive based on an average weekly revenue of                Weekly Service Charge
 $202.15 for W/E: 11/08/2014 -W/E: 03/21/2015.                                                   04/04/2015                KWHY535
                                                                            Basic                       1         11.30        -11.30
Next Day Air Commercial Package
                             04/04/2015                KWHY583
                                                                    Total Service Charges                                     -11.30
Electronic Processed Tier           3         93.10        -37.24
Tier incentive based on an average weekly revenue of                Total Incentives                                         -109.38
 $210.26 for W/E: 11/08/2014 -W/E: 03/28/2015.
Next Day Air Residential Letter
                            04/04/2015                  LXVS325
Electronic Processed Tier           1         21.15         -8.46
Tier incentive based on an average weekly revenue of
$210.26 for W/E: 11/08/2014 -W/E: 03/28/2015.
Next Day Air Residential Package
                           04/04/2015                   LXVS326
Electronic Processed Tier           2         61.95        -24.78
Tier incentive based on an average weekly revenue of
 $210.26 for W/E: 11/08/2014 - W/E: 03/28/2015.
                                                                   Delivery Service Invoice
                                                                   Invoice date   April 4, 2015
                                                                   Invoice number 00008A503W145
                                                                   Shipper number 8A503W

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Account Status
Weekly Payment Plan

Payments Applied
                                                        Amount
Invoice Number            Invoice Date                    Paid
00008A503W115             03/14/2015                     $ 68.50
Account Status
Weekly Payment Plan
Amount Outstanding (prior invoices):
Please include the Return Portion of each outstanding invoice
with your payment.
                                                         Balance
Invoice Number             Invoice Date                    Due
00008A503W125             03/21/2015                   $137.18
00008A503W135             03/28/2015                   $ 237.40
Total                                                  $ 374.58
Outstanding balances reflect any payments received as of
04/03/2015. Please Ignore this message If a recent payment has
been made for any outstanding Invoices.
                                                                                Delivery Service Invoice
                                                                                Invoice date   April 4, 2015
                                                                                Invoice number 00008A503W145
                                                                                Shipper number 8A503W

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Outbound
UPS CampusShip
Pickup                                                                          ZIP                            Published    Incentive     Billed
 Date                          Tracking Number       Service                   Code      Zone     Weight         Charge        Credit   Charge
04/02                        1Z8A503W0197471099      Next Day Air              02210 102                   4        31.00      -12.40     18.60
                                                     Commercial
                                                     Customer Weight
                                                     Fuel Surcharge                                                  1.09       -0.44      0.65
                                                     Customer Entered Dimensions= 16 x 11 x 3 in
                                                     Total                                                          32.09      -12.84     19.25
                             1stref                                                     UserlD:
                             Sender                                                    Receive
                                     MURPHY, HESSE, TOOMEY & LEHANE
                                     300 CROWN COLONY DR. STE 410
                                     QUINCY MA 02169
                             Message Codes : r
         Total for UserlD:   aaa@mhtl                                                                               32.09      -12.84     19.25




                                                 .
03/27                        1Z8A503W0194962313      Next Day Air               01923    102               2        25.50      -10.20     15.30
                                                     Commercial
                                                     Fuel Surcharge                                                  0.89       -0.36      0.53
                                                     Total                                                                     -10.56     15.83
                             1st r
                             Sender
                                        MURPHY, HESSE, TOOMEY & LEHANE
                                        300 CROWN COLONY DR. STE 410
                                        QUINCY MA 02169
03/31                        1Z8A503W0192217328      Next Day Air               01864    102        Letter         21.15        -8.46     12.69
                                                     Residential
                                                     Letter
                                                     Residential Surcharge                                           3.50                  3.50
                                                     Fuel Surcharge                                                  0.86       -0.30      0.56
                                                     Total                                                         25.51        -8.76     16.75
                             1st ref
                             Sender                                                   Receiver:
                                        MURPHY, HESSE, TOOMEY & LEHANE
                                        300 CROWN COLONY DR. STE 410
                                        QUINCY MA 02169
         Total for UserlD:   bna@mhtl                                                                              51.90      -19.32      32.58
04/02                        1 Z8A503W0194466350     Next Day Air              01701     102                       25.35      -10.14      15.21
                                                     Residential
                                                     Letter
                                                     Residential Surcharge                                           3.50                  3.50
                                                     Fuel Surcharge                                                  1.01      -0.35       0.66
                                                     Total                                                         29.86      -10.49      19.37
                             1st re
                             Sender
                                        •
                                        MURPHY, HESSE, TOOMEY & LEHANE
                                        300 CROWN COLONY DR. STE 410
                                                                                      Receiver:

                                        QUINCY MA 02169
         Total for UserlD:   dlp@mhtl                                                                              29.86      -10.49     19.37
04/01                        1Z8A503W0291486332      2nd Day Air Residential   29414    205               2        18.70       -5.61     13.09
                                                     Customer Weight                                1.3
                                                     Residential Surcharge                                          3.50                   3.50
                                                     Fuel Surcharge                                                 0.78       -0.20       0.58
                                                     Total                                                         22.98       -5.81     17.17
                             tst re                                                    2nd ref
                             UserlD
                             Sender                                                   Receiver:
                                        MURPHY, HESSE, TOOMEY & LEHANE
                                        300 CROWN COLONY DR. STE 410
                                        QUINCY MA 02169
         Total for UserlD: ls@mhtl                                                                                 22.98       -5.81     17.17
                                                                          Delivery Service Invoice
                                                                          Invoice date   April 4, 2015
                                                                          Invoice number 00008A503W145
                                                                          Shipper number 8A503W

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 Outbound
 UPS CampusShip (continued)
Pickup                                                                     ZIP                           Published      Incentive      Billed
 Date                    Tracking Number         Service                  Code     Zone     Weight         Charge          Credit    Charge
03/27                   1Z8A503W0190121309       Next Day Air             02108     102       Letter           21.15        -8.46       12.69
                                                 Commercial
                                                 Letter
                                                 Fuel Surcharge                                                 0.74        -0.30        0.44
                                                 Total                                                        21.89         -8,76      13.13

                        Sender
                                      rii1URPHY, HESSE, TOOMEY & LEHANE
                                      300 CROWN COLONY DR. STE 410
                                      QUINCY MA 02169
03/30                   1 Z8A503WNT98953688      Next Day Air             01776     102              8        36.60        -14.64      21.96
                                                 Residential
                                                 Residential Surcharge                                          3.50                     3.50
                                                 Fuel Surcharge                                                 1.40        -0.51        0.89
                                               Total                                                          41,50        -15.15      26.35
                        1st ref: LINC04.00035
                        Sender : Nadia Valme
                                    MURPHY, HESSE, TOOMEY & LEHANE
                                    300 CROWN COLONY DR. STE 410
                                    QUINCY MA 02169
                        1Z8A503W0198077675 Next Day Air                   02114    102            8           36,60        -14.64      21.96
                                               Commercial
                                               Fuel Surcharge                                                   1.28        -0.51       0.77
                                                 Total                                                        37.88        -15,15      22,73
                        1st ref: LINC04.00035                                     UserlD : nmv@mhtl
                        Sender : Nadia Valme                                     Receiver: Rosa I. Figueroa, He
                                      MURPHY, HESSE, TOOMEY & LEHANE                        Bureau of Special Educ ation Ap
                                      300 CROWN COLONY DR. STE 410                          One Congress Street, 1 1th Floor
                                      QUINCY MA 02169                                       BOSTON MA 02114
04/02                   1Z8A503W0192369343       Next Day Air             02111    102            2           25.50       -10.20       15.30
                                                 Commercial
                                                 Fuel Surcharge                                                0.89         -0.36       0.53
                                                 Total                                                        26,39       -10.56       15.83

                        Sender                                                   Receiver
                                      MURPHY, HESSE, TOOMEY & LEHANE
                                      300 CROWN COLONY DR. STE 410
                                      QUINCY MA 02169
       Total for UserlD: nmv@mhtl                                                                            127.66       -49.62       78.04
Total UPS CampusShip                                                             9 Package(s)                264.49       -98.08      166.41
Total Outbound                                                                   9 Package(s)                264.49       -98.08      166.41




Service Charges

Week Ending                                                                                              Published     Incentive      Billed
   Date                 Explanation                                                                        Charge         Credit    Charge
04/04                   Weekly Service Charge                                                                 11.30       -11.30        0.00
Total Service Charges                                                                                         11.30       -11.30        0,00




Invoice Messaging

 Code                    Messa e
                        Dimensional weight applied
